Case 2:90-cv-00520-KJM-SCR Document 3042-3 Filed 09/16/08 Pagei1of5

APPENDIX 6
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#31875) |SRH iil - Medical,

sare? SRN - Mental Health

e3thL [spn i -Medical

SRN II - Mental Health

soe | Psych Techn (Safety) - Mental Heath

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